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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF GEORGIA
                             COLUMBUS DIVISION

JAMES EDWARD BROGDON, JR., et         *
al.,
                                      *
      Plaintiff,
                                      *
vs.                                            CASE NO. 4:23-CV-88 (CDL)
                                      *
FORD MOTOR COMPANY,
                                      *
      Defendant.
                                      *

                                 O R D E R

      This order memorializes the oral rulings the Court made during

the final pretrial conference on December 12, 2024 and includes

additional rulings on motions not finally decided at the pretrial

conference.     If the Court defers ruling on a particular issue or

the application of a ruling to the particular circumstances at

trial is unclear, the parties have a duty to raise the issue at

trial in order to preserve any argument or objection.

      The parties’ revised final proposed pretrial order is due by

December 23, 2024.     The exhibits shall include final exhibit lists

that contain no “catchall” exhibit designations, as well as Ford’s

counter-designations for deposition testimony to be used at trial.

      The trial will begin on Monday, February 3, 2025 at 9:00 a.m.

By January 21, 2025, counsel shall submit to the Court a joint

proposed supplemental juror questionnaire on matters that the

parties deem necessary (including any relationship to any insurers
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and information about what type of vehicles the jurors drive).

The proposed questionnaire should not take an average person more

than fifteen minutes to complete.

       The Court carefully considered the parties’ briefing on the

pending    motions     and   makes   the       following      rulings.      The    Court

reiterates that counsel must object at trial if they believe that

opposing    counsel     asks    an   inappropriate            question    or   elicits

testimony that would violate any of these rulings.

♦ Plaintiffs’ Motion to Exclude Chris Eikey (ECF No. 213) is

  DENIED.

♦ Plaintiffs’ Motion to Exclude Donald Tandy (ECF No. 214) is

  DENIED as to testimony regarding the subject vehicle’s event

  data     recorder    but   GRANTED       as    to    Mrs.     Mills’s   “impairment

  status.”

♦ Plaintiffs’ Motion to Exclude Mark Sochor (ECF No. 215) is

  DENIED as to his cause of death opinion, as well as his seatbelt

  opinion (provided that he conducted his own analysis of the

  issue).

♦ Plaintiffs’ Motion to Exclude Jamie Downs (ECF No. 216) is

  GRANTED IN PART AND DENIED IN PART.                      Under Federal Rule of

  Evidence 702, an expert witness may only offer opinion testimony

  if the proponent of the testimony “demonstrates to the court

  that it is more likely than not” that the witness is qualified

  to     offer   the    opinion      because       of     his    knowledge,       skill,


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experience,    training,        or   education,        that   the    witness’s

“testimony is based on sufficient facts or data,” that the

“testimony is the product of reliable principles and methods,”

and that the “opinion reflects a reliable application of the

principles and methods to the facts of the case.”                          Here,

Plaintiffs    do    not   dispute    that    a    forensic    pathologist      is

generally qualified to offer an opinion on cause of death

following an autopsy that documents the decedent’s injuries and

conditions.        Plaintiffs do, however, object to Dr. Downs’s

opinion   about     whether    deformation       of   the   Ford   F-250   truck

correlated to occupant injury because Dr. Downs is not qualified

to offer such an opinion.        Plaintiffs also object to Dr. Downs’s

cause of death opinions for Mr. and Mrs. Mills as pure ipse

dixit—meaning that he did not use a reliable methodology—because

he did not clearly state the basis for those opinions.                        The

Court reviewed Dr. Downs's expert report and deposition and

makes the following rulings.

Opinion Regarding Vehicle Deformation/Occupant Injury

Dr. Downs opines that vehicle deformation does not directly

correlate to occupant injury.         Based on the Court’s review, this

opinion is based on Dr. Downs’s observation that (1) the roof

crush on the Millses’ F-250 truck appeared to be worse on the

passenger side than on the driver side and (2) Mr. Mills was

taller than Mrs. Mills, but Mr. Mills was extracted from the


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truck alive while Mrs. Mills died at the scene.                   The Court is

not convinced that Ford demonstrated that it is more likely than

not that Dr. Downs is qualified to offer an opinion on this

issue or that Dr. Downs’s testimony on this issue is based on

reliable methodology.

  o First, as Ford noted in its response brief, “Dr. Downs

     merely observed the undisputed fact that there was less

     roof deformation in the F-250 on Mrs. Mills’[s] side . . .

     than on Mr. Mills’[s] side.”         Def.’s Resp. 8, ECF No. 249.

  o Second, Dr. Downs admits that the question of what happened

     inside the truck to cause Mr. and Mrs. Mills’s blunt force

     injuries is a “biomechanical or kinematics” question that

     he did not answer.      Downs Dep. 159:16-22, ECF No. 72.

  o Third, Ford did not point to any evidence that Dr. Downs

     is   qualified   to    perform   or   actually         did    perform   an

     analysis, supported by a reliable methodology, regarding

     the specific encroachment of the truck’s roof into the

     Millses’ occupant compartment and how that encroachment

     more likely than not affected the occupants.

For all these reasons, the Court GRANTS Plaintiffs’ motion to

exclude Dr. Downs’s testimony that vehicle deformation does not

correlate to occupant injury.




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    Opinion Regarding Mrs. Mills’s Cause of Death

    Dr.   Downs    opines   that   Mrs.        Mills    died    of      “sudden   cardiac

    dysrhythmia occurring in a setting of cardiomegaly,” that the

    “irregular heartbeat” caused Mrs. Mills to run off the road,

    and that Mrs. Mills did not regain consciousness before she

    died.   Downs Expert Report 2, ECF No. 71. 1                As discussed in more

    detail below, the Court finds that Dr. Downs should be permitted

    to offer an opinion on why he ruled out positional asphyxiation

    as a cause of death for Mrs. Mills.                  But the Court finds that

    Ford failed to demonstrate that it is more likely than not that

    Dr. Downs based his “cardiomegaly” and related opinions on

    sufficient facts or data or on reliable methodology.

    Ford represents that Dr. Downs used a forensic pathology method

    akin to a “differential type diagnosis” method to arrive at his

    opinions on the cause of death for Mrs. Mills.                         According to

    Ford, that method included observing Mrs. Mills’s autopsy and

    looking at her organs and tissues, plus reviewing her medical

    records.      Dr. Downs produced a report with his opinions.

      o Dr.       Downs   explained   in       his     report    why      he   ruled     out

          positional asphyxiation as a cause of death for Mrs. Mills. 2

          He listed all his findings from an external and internal



1
  Dr. Downs’s report is not sequentially numbered, so the Court cites to
the page number of the CM/ECF document.
2  Plaintiffs’ forensic pathologist opines that Mrs. Mills died of
positional asphyxia with her blunt impact injuries contributing.


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   examination of Mrs. Mills’s body, and he explained in

   detail     why       he    reached        his      opinion        on   positional

   asphyxiation based on the examination.                           Dr. Downs noted

   that given the “bending” of Mrs. Mills observed “by the

   scene responders, the potential for sufficient compressive

   forces to restrict chest excursion, impairing breathing

   should be considered,” but he noted that “the lack of any

   corresponding identified acute spine fracture (especially

   since [Mrs. Mills] had previously diagnosed compression

   fracture) or identified compressive injury argues against

   a chest‐to‐thighs position with sufficient force to result

   in a compressive/positional asphyxiation process. Physical

   stigmata       of    positional         asphyxiation         were      absent    at

   autopsy.”       Id. at 28.          Dr. Downs further noted that the

   process of positional asphyxiation “takes time,” although

   he did not say how much time it would take or whether the

   amount of time would be affected by multiple rib fractures

   or a medical history of Chronic Obstructive Pulmonary

   Disease.       Id.   Dr. Downs did state that witness commentary

   regarding       Mrs.      Mills’s       “difficulty       breathing      must    be

   considered” in light of her “multiple rib fractures, which

   would    be    expected      to    be    painful      and    cause     difficulty

   breathing.”          Id.     He further stated that he could not

   assess        the    “true        extent        of     hemo-/pneumo-thoraces


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   associated” with Mrs. Mills’s rib fractures because of

   “significant trochar artifact” related to the embalming of

   Mrs. Mills’s body and “decompositional artifact” related

   to the decomposition of her body.         Id.    But he did conclude

   that the “clinical picture and data simply do not support

   asphyxiation as a factor” in Mrs. Mills’s death.             The Court

   is satisfied that Dr. Downs should be permitted to offer

   an opinion on why he ruled out positional asphyxiation as

   a cause of death for Mrs. Mills and thus DENIES Plaintiffs’

   motion to the extent it seeks to exclude this opinion.

o Dr. Downs’s next opinion is that Mrs. Mills’s cause of

   death was “Hypertensive heart disease” and that she “died

   as the result of sudden cardiac dysrhythmia [irregular

   heartbeat] occurring in a setting of cardiomegaly [enlarged

   heart].” Id. at 6, 28. Dr. Downs’s report does not clearly

   explain the basis for this opinion.             Ford points out that

   in    the    “Cardiovascular”        section     of    the    internal

   investigation portion of his report, Dr. Downs reported a

   396 gram heart (“healthy reference to maximal 350 fresh;

   range 148-296”).      Id. at 22.      In the “Diagnoses” section

   of    his   report,    Dr.   Downs     listed      a   diagnosis      of

   “Cardiomegaly,” “Blunt force injury,” and conditions that

   appeared in Mrs. Mills’s medical records, including May

   2022 reports of intermittent chest pain, episodic shortness


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   of    breath,       marked    subcutaneous          lower         extremity      edema,

   symptomatic tachycardia, and chronic obstructive pulmonary

   disease/emphysema.            Id. at 22, 29.               Ford also points out

   that in his deposition, Dr. Downs testified that Mrs. Mills

   had a “very, very significantly enlarged heart” and stated

   that    an    enlarged       heart       “can   trigger       a     sudden       cardiac

   dysrhythmia.”         Downs Dep. 150 12:17, ECF No. 72 (emphasis

   added).       Finally, Ford contends that Dr. Downs relied on

   the opinion of          its mechanical engineering expert, who

   opines       that    Mrs.    Mills       did    not       apply     the    brakes      or

   intentionally steer the truck after she left the roadway.

   Ford did not, though, point to any portion of Dr. Downs’s

   report or deposition that discloses the factual basis for

   his    conclusion      that     an       enlarged         heart    (or    some    other

   abnormality in Mrs. Mills’s heart chambers, heart tissue,

   or coronary arteries) did cause an irregular heartbeat that

   did cause Mrs. Mills to lose consciousness.                               This is the

   crux of Plaintiffs’ objection: Dr. Downs did not explain

   how he “ruled in” cardiomegaly as the cause of Mrs. Mills’s

   death or how he “ruled out” all other potential causes,

   such as the blunt force injuries Mrs. Mills sustained in

   the wreck.          So, contrary to the representation of Ford’s

   counsel       that     Dr.     Downs       used       a     method        akin    to    a

   “differential type diagnosis,” the present record does not


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         reveal that Dr. Downs considered the possible causes of

         Mrs.    Mills’s     death     and       then    systematically        ruled     out

         possible causes using scientific methods and procedures

         until he arrived at his cardiomegaly opinion. Accordingly,

         the Court finds that Ford failed to establish that Dr.

         Downs’s       opinion   on    Mrs.        Mills’s      cause     of     death    is

         sufficiently reliable to be admitted under Federal Rule of

         Evidence 702.        The Court thus GRANTS Plaintiffs’ motion to

         exclude       Dr.   Downs’s    opinion         that    Mrs.     Mills    died    of

         hypertensive heart disease and sudden cardiac dysrhythmia.

    Regarding Mr. Mills’s Cause of Death

    Dr. Downs opines that Mr. Mills died of “blunt force injury.” 3

    Downs Expert Report 33.            In reaching this opinion, Dr. Downs

    observed the autopsy for Mr. Mills, looked at his organs and

    tissues, and reviewed his medical records.                     Dr. Downs produced

    a report with his opinions.            He explained that he found evidence

    of significant blunt force injuries, with multiple rib fractures

    and contusions, and that the blunt force injuries coupled with

    Mr. Mills’s underlying medical conditions caused his death.                           In

    reaching    this    opinion,     Dr.     Downs      considered       and   ruled     out

    compressive asphyxiation as a cause of Mr. Mills’s death.                            Dr.


3
  Plaintiffs’ forensic pathologist concluded that Mr. Mills suffered
significant injuries from blunt impact to the torso. He opines that Mr.
Mills suffered thoracic compression from being compressed between the
collapsed roof and his seat while being upside down in the truck, and
that compression contributed to his death.


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Downs explained the basis for that opinion: he noted that

although responders observed Mr. Mills “bending,” there was not

“any     corresponding     identified     acute    spine     fracture”        or

“identified compressive injury” which “argues against a chest‐

to‐thighs    position     with   sufficient   force     to    result     in    a

compressive/positional asphyxiation process.”               Id. at 55.        Dr.

Downs also noted that there was no “[p]hysical stigmata of

positional asphyxiation” for Mr. Mills            Id.   He further stated

that he could not assess the “true extent of hemo-/pneumo-

thoraces associated” with Mr. Mills’s rib fractures because of

“significant trochar artifact” related to the embalming of Mr.

Mills’s body and “decompositional artifact” related to the

decomposition of his body.         Id.    Dr. Downs concluded that the

“clinical picture and data simply do not support asphyxiation

as a factor” in Mr. Mills’s death.         The Court is satisfied that

Dr. Downs should be permitted to offer an opinion on why he

ruled out asphyxiation as a cause of death for Mr. Mills.

Moreover, Plaintiffs do not argue that the autopsy and medical

records revealed insufficient facts and data for Dr. Downs to

conclude that blunt force injury contributed to Mr. Mills’s

death.      For all these reasons, the Court DENIES Plaintiffs’

motion to the extent it seeks to exclude Dr. Downs’s opinion on

Mr. Mills’s cause of death.




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♦ Plaintiffs’ Motion to Exclude Daniel Camacho (ECF No. 217) is

  DENIED.

♦ Plaintiffs’ Motion to Exclude Michelle Vogler (ECF No. 218) is

  DENIED.

♦ Plaintiffs’ Daubert Motion re “Various Subjects” (ECF No. 219)

  is TERMINATED as duplicative of pending motions in limine.

♦ Plaintiffs’ Motion to Strike Ford’s Daubert Motions (ECF No.

  235) is DENIED.

♦ Ford’s Motion to Exclude Paul Lewis (ECF No. 220) is DENIED.

♦ Ford’s Motion to Exclude Joshua Brooks (ECF No. 221) is DENIED.

  By January 21, 2025, each side should submit a trial brief on

  what, if any, limits apply to profitability evidence.

♦ Ford’s Motion to Exclude Drs. Cochran and Ellis (ECF No. 222)

  is DENIED.

♦ Ford’s Motion to Exclude Dr. Eisenstat (ECF No. 223) is DENIED.

♦ The Court reviewed Plaintiffs’ trial brief on “Right to Cross

  Examine Expert” and declines to reconsider its oral ruling from

  the bench at the pretrial conference.         Plaintiffs may question

  expert    witnesses   about   evidence   of   other   claims    that   they

  reviewed     in   reaching      their    opinions,        but    not       the

  disposition/settlement of such claims.

♦ Ford’s Motion in Limine re “Evidence of Other Incidents” (ECF

  No. 231) is DEFERRED.         Plaintiffs may submit a supplemental



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  affidavit in opposition to the motion by December 23, 2024.

  Ford shall make specific objections to Plaintiffs’ proffered

  chart of OSI evidence (ECF No. 279-3) by January 6, 2025.

♦ Ford’s Motion in Limine re “Net Worth Evidence” (ECF No. 232)

  is DEFERRED.      By January 21, 2025, each side should submit a

  trial brief on what, if any, limits apply to profitability

  evidence.

♦ Ford’s: Omnibus Motion in Limine (ECF No. 234) re:

  1. “Evidence     or   Testimony   that    the    Restraint     System       was

    Defective.”     Motion GRANTED.

  2. “Lay Witnesses Giving Expert Medical Testimony.”                   Motion

    GRANTED.

  3. “Referring to Consulting Experts and Experts Who Are Not

    Called as Witnesses.”      Motion DEFERRED.

  4. “Improper Questioning of Witnesses.”          Motion DEFERRED.

  5. “Hill v. Ford Motor Company.”         Motion DEFERRED.

♦ Plaintiffs’ Motion in Limine re “Exhumations of the Bodies of

  Herman and Debra Sue Mills (ECF No. 240) is DENIED.

♦ Plaintiffs’ Motion in Limine re “Argument that Debra Mills was

  Unconscious or Dead Before or During the Wreck” (ECF No. 241)

  is DENIED.     As discussed above, Dr. Downs shall not be permitted

  to opine that Mrs. Mills was unconscious or dead before the

  pitch-over occurred.       But the Court declined to exclude the

  opinions of Dr. Sochor, including his opinions that Mrs. Mills


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  suffered a cardiac event that caused her to be unconscious at

  the time of the crash.

♦ Plaintiffs’    Motion      in    Limine        re   “Dissimilar          Tests     and

  Statistical Analyses Involving Dissimilar Vehicles” (ECF No.

  242) is DENIED.

♦ Plaintiffs’ Motion in Limine re “Ford’s CRIS Tests, Malibu

  Tests, and Other Litigation Tests” (ECF No. 243) is DENIED.

♦ Plaintiffs’ Motion in Limine re “Reference to or Testimony that

  ‘9X%’ of Belted Passengers are Uninjured in Rollover Wrecks”

  (ECF No. 244) is DENIED.

♦ Plaintiffs’   Motion      in    Limine    re    “Argument,        Testimony,       and

  Allegations   that     Debra    Mills    was     not   Properly       Wearing      her

  Seatbelt” (ECF No. 245) is DENIED.

♦ Plaintiffs’ Motion in Limine re “Argument or Insinuation that

  Plaintiffs’ Counsel or Employees Engaged in ‘Witness Tampering’”

  (ECF No. 246) is DEFERRED.

♦ Plaintiffs’ Omnibus Motion in Limine (ECF No. 247) re:

  1.   “Ford’s attempts to inject things into the trial unrelated

       to the defect at issue.”        Motion DEFERRED.

  2.   “Argument or testimony that the Super Duty roof was “better”

       or   “stronger”    than     other     automakers’           roofs    in     other

       vehicles.”   Motion DENIED.




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3.   “Any examination or insinuations about the circumstances of

     Plaintiffs’ hiring counsel.”          Motion GRANTED.

4.   “Speculation     by   unqualified     witnesses    that    Debra   Mills

     suffered a ‘medical’ event prior to or during the crash

     before the roof collapsed.”           Motion GRANTED as to Sanchez

     and Cooper.

5.   “Argument or questioning prospective jurors, witnesses, or

     parties about whether and how they wear their seatbelts.”

     Motion GRANTED.

6.   “Argument or testimony about comparisons to unidentified and

     dissimilar other rollover wrecks.”          Motion GRANTED.

7.   “Argument   or    examination      regarding    vehicles     witnesses,

     parties, or their employees or lawyers own, drive, or have

     driven and regarding whether they would put their family in

     Super Duty trucks.”      Motion DEFERRED as to experts who may

     testify   regarding    the   safety    Super   Duty     Trucks;    Motion

     GRANTED as to other witnesses.

8.   “Any reference to or insinuation about the supposed effects

     a verdict against Ford will have on Ford’s employees and

     operations.”     Motion GRANTED.       If Ford contends that this

     type of evidence is relevant on punitive damages amount, it

     needs to establish relevance.

9.   “Argument or insinuations that Ford’s lawyers ‘represent’

     Ford’s employees and engineers.”          Motion DEFERRED.


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10. “Questioning or argument about whether decedents did or did

   not    read    the   owner’s    manual.”      Motion       GRANTED    to    the

   following extent: Ford shall not be permitted to argue that

   Mr. and Mrs. Mills failed to read the truck’s owner’s manual,

   and Ford shall not be able to question witnesses about

   whether Mr. and Mrs. Mills read the truck’s owner’s manual

   UNLESS Ford first proffers outside of the jury’s presence

   non-speculative evidence that Mr. and Mrs. Mills did not

   read the manual or any warnings affixed to the truck.                       The

   Court recognizes that where a plaintiff’s failure-to-warn

   claim is based on the adequacy of the contents of the

   warning, the plaintiff cannot establish causation unless she

   shows       that   she   read   the   allegedly    inadequate        warning.

   Camden Oil Co., LLC v. Jackson, 609 S.E.2d 356, 359 (Ga. Ct.

   App. 2004). Here, though, Plaintiffs’ failure-to-warn claim

   is that Ford did not adequately communicate warnings about

   the truck’s roof because Ford presented no warning at all

   on the truck or in the manual.            A product user’s failure to

   read the owner’s manual in such a case does not automatically

   doom    a    failure-to-warn     claim.      Id.    (noting     that    in    a

   “presentation and location of warnings” case, a plaintiff’s

   failure to read a poorly placed, too-small label could be

   circumstantial evidence of the warning’s inadequacy).




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  11. “Examination or insinuations about life insurance proceeds

      received   or    some   other    supposed     ‘settlement.’”         Motion

      GRANTED.

                      SUMMARY OF UPCOMING DEADLINES

1. December 19, 2024: Ford’s amended objections to Plaintiffs’
   deposition designations due.

2. December 23, 2024: revised final proposed pretrial order due.
   The exhibits shall include final exhibit lists that contain no
   “catchall” exhibit designations, as well as Ford’s counter-
   designations for deposition testimony.

3. December 23, 2024: Plaintiffs’ supplemental response/affidavit
   in opposition to Ford’s motion in limine regarding “other
   incidents” (ECF No. 231) due.

4. January 3, 2025: Ford shall notify Plaintiffs of its decision
   regarding a trial representative.

5. January 6, 2025: Ford shall make specific, concise objections
   to Plaintiffs’ proffered chart of OSI evidence (ECF No. 279-3).

6. January 21, 2025: proposed jury instructions due.

7. January 21, 2025: proposed voir dire questions due.

8. January   21,   2025:       joint        proposed     supplemental       juror
   questionnaire due.

9. January 21, 2025: each side should submit a trial brief on any
   limitations on the admissibility of evidence regarding Ford’s
   profitability, including whether evidence of profits from the
   sale of Ford F-250 Super Duty trucks with the same allegedly
   defective roof design should be limited to Georgia profits.



     IT IS SO ORDERED, this 17th day of December, 2024.

                                            S/Clay D. Land
                                            CLAY D. LAND
                                            U.S. DISTRICT COURT JUDGE
                                            MIDDLE DISTRICT OF GEORGIA



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